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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA

       Plaintiff,

       v.                                                  Criminal Action No. 17-232-EGS

       MICHAEL T. FLYNN,

       Defendant.



              MOTION TO PRODUCE NEWLY DISCOVERED BRADY EVIDENCE
                                AND BRIEF IN SUPPORT THEREOF

            Michael T. Flynn (“Mr. Flynn”) requests the government be ordered to produce evidence

that has only recently come into its possession. This evidence includes the data and metadata of

the following two devices:

                      Manufacturer                     BlackBerry

                      Product                          9900 Bold

                      Model                            RDV71UW

                      IMEI                             351504055559948

                      PIN                              2B08EC98

                      SIM Card ID                      89441000302074582859

and;




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                    Manufacturer                          BlackBerry

                    Product                               Classic SQC100-1

                    Model                                 SQC100-1

                    IMEI                                  359892051315486

                    PIN                                   2BFD0057

                    SIM Card ID                           89441000300487623120

    The defense requested this information initially by email to Mr. Van Grack and Ms. Ballantine on

Friday, October 11, 2019. The government did not reply to the email of October 11, but it did reply in

response to the notice of our Motion on October 15, 2019.

    This information is material, exculpatory, and relevant to the defense of Mr. Flynn, and specifically to

the “OCONUS LURES” and agents that western intelligence tasked against him likely as early as 2014 to

arrange—unbeknownst to him—“connections” with certain Russians that they would then use against him

in their false claims. The phones were used by Mr. Joseph Mifsud.

    Mr. Flynn is entitled to this information under Brady v. Maryland, 373 U.S. 83, 87 (1963). Brady’s

mandate is fundamental to Due Process and crucial to ensure that prosecutors fulfill their

obligation to seek justice rather than convictions. The rule of Brady does so “[b]y requiring the

prosecutor to assist the defense in making its case,” and in that respect “the Brady rule represents

a limited departure from a pure adversary model.” United States v. Bagley, 473 U.S. 667, 675 n.6

(1985). The government "may not knowingly use false evidence, including false testimony, to

obtain a tainted conviction.” Napue v. People of State of Ill., 360 U.S. 264, 269 (1959). This

Court’s Standing Order also requires that the government produce this information to Mr. Flynn.




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Dated: October 15, 2019                        Respectfully submitted,

                                               /s/ Sidney Powell
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                                               Molly McCann
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/s/ Jesse R. Binnall
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                               CERTIFICATE OF CONFERENCE


       Counsel for Defendant has personally attempted to contact counsel for the government to

resolve the matter by e-mail on two occasions, Friday, October 11, 2019 and Tuesday, October 15,

2019. Counsel for the government replied on Tuesday, October 15, 2019 (“If we [the prosecutors]

determine that they contain information that is discoverable or that is relevant to sentencing, we

will produce them to you.”).



Certified on October 15, 2019.                      Respectfully submitted,

                                                    /s/ Sidney Powell
                                                    Sidney Powell
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 15, 2019, true and genuine copies of Mr. Flynn’s

Amendment to his Motion to Compel Production of Brady Material and for an Order to Show

Cause were served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 Street, NW
       Washington, D.C. 20530



                                                    Respectfully submitted,


                                                    /s/ Jesse R. Binnall
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